      CASE 0:10-cr-00338-ADM-JSM            Doc. 186      Filed 12/30/11      Page 1 of 3




                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,
                     Plaintiff,
       v.                                                  MEMORANDUM OPINION
                                                           AND ORDER
Rena Lakina Kennedy, a/k/a Nene                            Criminal No. 10-338(3) ADM/JSM
                     Defendant.



Thomas M. Hollenhorst, Esq., United States Attorney’s Office, Minneapolis, MN, for Plaintiff.
Rena Lakina Kennedy, pro se.


                                      I. INTRODUCTION

   This matter is before the undersigned United States District Court Judge for a ruling

on Rena Lakina Kennedy’s (“Kennedy”) Motion for Sentence Reduction pursuant to 18 U.S.C.S.

§ 3582(c)(2) [Docket No. 184] (“Motion”). For the reasons set forth below, Kennedy’s Motion

is denied.

                                       II. BACKGROUND
   On March 21, 2011, Kennedy pled guilty to conspiracy to possess with intent to distribute 50

grams or more of cocaine base. Plea Agreement [Docket No. 121]. Kennedy’s offense was

subject to a mandatory minimum sentence of 120 months of imprisonment under 21 U.S.C. §

841(b)(1)(A). On July 19, 2011, Kennedy was sentenced to the mandatory minimum sentence of

120 months. Sentencing Judgment [Docket No. 163]. Kennedy now moves for a sentence

reduction under the amended cocaine base guidelines.


                                        III. DISCUSSION
   Under 18 U.S.C. § 3582(c)(2), a prison sentence may be reduced if the United States
      CASE 0:10-cr-00338-ADM-JSM               Doc. 186      Filed 12/30/11      Page 2 of 3




Sentencing Commission has subsequently lowered the sentencing range. On November 1, 2011,

the Sentencing Commission amended its Policy Statement § 1B1.10 and lowered the base

offense levels applicable for offenses involving cocaine base. This amendment has retroactive

application, but it is not applicable here because Kennedy was sentenced to the statutory

mandatory minimum sentence. Under the United States Sentencing Guideline (“U.S.S.G.”) §

5G1.1(a), “[w]here a statutorily required minimum sentence is greater than the maximum of the

applicable guideline range, the statutorily required minimum sentence shall be the guideline

sentence.” U.S.S.G. § 5G1.1(c)(2) further states than an imposed sentence cannot be “less than

any statutorily required minimum sentence.”

       At the time Kennedy committed the offense, the mandatory minimum sentence under 21

U.S.C. § 841(b)(1)(A) for violations involving 50 or more grams of cocaine base was 120

months of imprisonment. The Fair Sentencing Act of 2010 (“FSA”) has increased the quantity

of cocaine base that is required to trigger the mandatory ten-year sentence from 50 grams to 280

grams. Fair Sentencing Act of 2010 § 2(a)(1). The result of these changes is a reduction in the

cocaine sentencing guidelines and an elimination of the mandatory minimum sentence for simple

possession. Id. §§ 2–3. However, the FSA is not retroactive because it contains no express

statement that it is. United States v. Sidney, 648 F.3d 904, 906 (8th Cir. 2011). Consequently,

the general savings statute, 1 U.S.C. § 109, requires the court to apply the penalties “in place at

the time the crime was committed.” Id.; see also United States v. Smith, 632 F.3d 1043,

1047–48 (8th Cir. 2011).

   The amendments to the Sentencing Guidelines in U.S.S.G. § 2D1.1, which became




                                                  2
      CASE 0:10-cr-00338-ADM-JSM              Doc. 186    Filed 12/30/11     Page 3 of 3




retroactive on November 1, 2011, have no impact on Kennedy’s statutory minimum sentence

without express Congressional action making the FSA retroactive. Since Congress has not made

the FSA retroactive, the statutory minimum sentence in force when Kennedy committed the

offense applies here and requires the imposition of no less than 120 months’ imprisonment.

Therefore, Kennedy is not eligible for a sentence reduction under 18 U.S.C. § 3582(c)(2) or

U.S.S.G. § 2D1.1, and his Motion is denied.

                                       IV. CONCLUSION
   Based upon all the files, records and proceedings herein, IT IS HEREBY ORDERED that

Defendant Kennedy’s Motion for Sentence Reduction Pursuant to 18 U.S.C.S. § 3582(c)(2)

[Docket No. 184] is DENIED.


                                                BY THE COURT:




                                                     s/Ann D. Montgomery
                                                ANN D. MONTGOMERY
                                                U.S. DISTRICT JUDGE


Dated: December 30, 2011.




                                                3
